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                                                  July 1, 2021

VIA CM-ECF
The Honorable Maryellen Noreika
U.S. District Court for the District of Delaware
844 N. King Street
Wilmington, DE 19801


                       Re:     CFPB v. NCMSLT et al., No. 17 Civ. 1323 (D. Del.)


Dear Judge Noreika:

        We write on behalf of Intervenor Ambac Assurance Corporation to respond to the Notice of
Supplemental Authority filed yesterday by Plaintiff Consumer Financial Protection Bureau (“CFPB”)
regarding the U.S. Supreme Court’s recent decision in Collins v. Yellen, No. 19-422, 2021 WL 2557067
(U.S. June 23, 2021). See D.I. 371. As explained herein, Collins does not erase the conceded
constitutional defect at the heart of this case; does not upend the well-settled requirement that ratification
must be timely to be effective; and does not rescue this action from dismissal.

         The CFPB begins by characterizing Collins as “concern[ing] a challenge to an action taken by the
Federal Housing Finance Agency during a time when its single director was unconstitutionally insulated
from removal.” D.I. 371 at 1–2. But in fact, the FHFA Acting Director who agreed to the “third
amendment” at issue in Collins “was removable at will” by virtue of his acting status. Collins, 2021 WL
2557067, at *19. By contrast, when the CFPB filed this case against the Trusts, it was led by Richard
Cordray, a (non-Acting) Director whom the Dodd-Frank Act protected from removal by the President, in
violation of the Constitution’s separation of powers. The CFPB has conceded that Director Cordray’s
initiation of enforcement proceedings during that period was unconstitutional. See, e.g., Seila Law
LLC v. CFPB, 140 S. Ct. 2183, 2220–21 (2020) (“The CFPB’s first Director, Director Cordray, issued a
civil investigative demand to Seila and initiated the enforcement action [in 2017]. The CFPB has
conceded that these actions were unconstitutional.”). And the CFPB has also conceded in this case that
ratification “provides the remedy for the Constitutional violation” in its actions. See D.I. 320 at 7. In
light of these concessions, the CFPB cannot seriously contend that Collins suddenly renders its original
complaint “timely and validly filed.” D.I. 371 at 1; see Collins, 2021 WL 2557067, at *25 (Thomas, J.
concurring) (distinguishing Collins from Seila Law due to the CFPB’s concession that it had acted
unconstitutionally).

        The CFPB goes further astray when it suggests that Collins somehow abolished the timing
requirements of ratification. See D.I. 371 at 2. Collins says nothing whatsoever about those timing
requirements, which remain binding Supreme Court and Third Circuit precedent. Collins merely held
that actions taken by unconstitutionally insulated officers are not necessarily void ab initio. See 2021
WL 2557067, at *19. That holding is entirely consistent with Seila Law, in which the Supreme Court
declined to set aside the civil investigative demand altogether, but remanded for lower courts “to consider
whether the civil investigative demand was validly ratified.” 140 S. Ct. at 2211; accord D.I. 359
(“Opinion”) at 9 (“Here, there is no question that the Bureau initiated this action against the Trusts at a
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time when its structure violated the Constitution’s separation of powers. Thus, the Court must determine
whether that defect has been cured by ratification or whether dismissal is required.”).

         Consistent with that framework, the CFPB has repeatedly argued—both before and after Collins
came down last week—that ratification is the “appropriate remedy” to cure the defect in actions
commenced when it was unconstitutionally structured. Compare CFPB v. Law Ofcs. of Crystal Moroney,
P.C., No. 20-3741 (2d Cir.), D.I. 73 at 32, and id. at 31 (CFPB arguing that “courts have long recognized
ratification as a remedy for an initial defect in government-agency action, including the filing of an
enforcement suit”), with D.I. 80-1 at 1–2 (CFPB arguing post-Collins that ratification of the action meant
“that the invalid removal restriction has no effect on this case”); see also CFPB v. Navient Corp., No. 17
Civ. 101, 2021 WL 772238, at *5 (M.D. Pa. Feb. 26, 2021) (court noting that “the CFPB has conceded
the necessity of ratification” and “that Director Kraninger’s ratification came more than three years after
the initiation of the lawsuit, and thus even longer after the alleged violations at issue occurred and the
CFPB discovered those violations alleged in the Complaint”); BCFP v. Citizens Bank, N.A., No. 20 Civ
44 (D. R.I.), D.I. 32 at 3 (CFPB arguing, “When a constitutional defect taints an enforcement action filed
by an agency, the agency can cure that taint by ratifying the action once the constitutional defect has been
resolved. That is what happened here.” (citations omitted)). Having insisted here and elsewhere that the
ratification doctrine provides the remedy for its constitutional violations, the CFPB cannot escape the
settled requirements of that doctrine, including that the ratification must occur within the statute of
limitations. See Opinion at 10 (citing Advanced Disposal Serv. E., Inc. v. NLRB, 820 F.3d 592, 602–04
(3d Cir. 2016)).

         Finally, the CFPB claims that former Director Kraninger’s ratification “confirms that the removal
restriction has no relevance to the Bureau’s pursuit of this action.” D.I. 371 at 2 n.1. The Supreme Court
squarely rejected this line of reasoning in Seila Law, and instead reaffirmed that a litigant challenging
governmental action “on the basis of the separation of powers is not required to prove that the
Government’s course of conduct would have been different in a ‘counterfactual world’ in which the
Government had acted with constitutional authority.” 140 S. Ct. at 2196 (emphasis supplied). All that
matters here is that the CFPB’s attempt at ratification “came more than three years after the date of
discovery” of the violations alleged in the amended complaint, and was therefore ineffectual. Opinion at
10 (quoting CFPB concession in D.I. 356 at 35:8–10), 14 (citing Benjamin v. V.I. Port Auth., 684 F. App’x
207, 212 (3d Cir. 2017)). Neither Collins nor anything else can save the CFPB from that dispositive fact.



                                              Respectfully submitted,

                                              /s/ Melissa N. Donimirski

                                              Melissa N. Donimirski (#4701)

MND/ram
cc: All Counsel of Record (via CM-ECF)
